                    DISTRICT COURT OF THE UNITED STATES
                FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                                 3:02-CR-182

                                                 )
UNITED STATES OF AMERICA                         )
                                                 )
       v.                                        )                  ORDER
                                                 )
TORRAN LEEHAN PHILLIPS                (2)        )
                                                 )


       THIS MATTER IS BEFORE THE COURT subsequent to the recent order vacating the

Court’s prior granting the defendant’s motion for a reduction of sentence. Parties have fully

briefed the matter. The Court concludes that Mr. Phillips’ record is no worse than numerous

other defendants who will be receiving the benefit of a sentence reduction. His prison record

reflects very minor infractions (including going through the chow line twice). In short, nothing

persuades the Court that the original determination to amend his sentence to time served plus 10

days was incorrect.

       The Court therefore reinstates the previous Order [doc. 183] GRANTING the Motion to

Reduce Sentence and directs the Clerk to send a copy of same to the United States Marshals

Service and the Bureau of Prisons immediately.

       SO ORDERED.

                                                 Signed: May 13, 2008




      Case 3:02-cr-00182-GCM           Document 188        Filed 05/13/08      Page 1 of 1
